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     WRIGHT, FINLAY & ZAK, LLP
 1
     Christina V. Miller, Esq.
 2   Nevada Bar No. 12448
     Ramir M. Hernandez, Esq.
 3   Nevada Bar No. 13146
     7785 W. Sahara Ave., Suite 200
 4
     Las Vegas, NV 89117
 5   (702) 475-7964; Fax: (702) 946-1345
     rhernandez@wrightlegal.net
 6   Attorneys for Defendant, DIRECTV, LLC (incorrectly named as AT&T Uverse)
 7
                                  UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA
 9   HOPE BODDY,                                           Case No.: 2:21-cv-01765-GMN-VGF
10                                                         JOINT MOTION TO EXTEND
                    Plaintiff,
11                                                         DEADLINE TO ANSWER
             vs.
12                                                         (First Request)
13   AT&T UVERSE; NATIONAL CONSUMER
     TELECOM & UTILITIES EXCHANGE, INC.,
14
                    Defendants.
15
16           Plaintiff, Hope Boddy (“Plaintiff”) and Defendant, DIRECTV, LLC (incorrectly named
17   AT&T Uverse) (“Defendant”), by and though their undersigned counsel, hereby move that
18   Defendant shall have up and including October 22, 2021, to answer or otherwise respond to
19   Plaintiff’s complaint. The parties request the additional time to continue to discuss settlement prior
20   to Defendant filing an answer or otherwise responding the complaint. This motion is filed in good
21   faith and not intended to cause delay. This is the parties’ first request of an extension of time to
22   answer the complaint by Defendant.

23   /././

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 1          As part of this motion, Defendant agrees to participate in any Rule 26(f) conference that
 2   occurs during the pendency of this extension.
 3          IT IS SO STIPULATED.
 4
      WRIGHT, FINLAY & ZAK, LLP                         KRIEGER LAW GROUP, LLC
 5
 6
      /s/ Ramir M. Hernandez                            /s/ Shawn Miller
 7    Ramir M. Hernandez, Esq.                          David Krieger, Esq.
 8    Nevada Bar No. 11731                              Nevada Bar No. 9086
      7785 W. Sahara Ave., Suite 200                    Shawn Miller, Esq.
 9    Las Vegas, NV 89117                               Nevada Bar No. 7825
      Attorneys for Defendant, DIRECTV, LLC             2850 W. Horizon Ridge Pkwy, Ste. 200
10    (incorrectly named as AT&T Uverse)                Henderson, Nevada 89052
11                                                      Attorneys for Plaintiff Hope Boddy

12
13                                              ORDER
14          IT IS SO ORDERED.
15
                                                 _______________________________________
16
                                                 UNITED STATES MAGISTRATE JUDGE
17
                                                           9-27-2021
                                                 DATED: ______________________________
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